               Case 20-70658-AKM-13                       Doc        Filed 06/14/21              EOD 06/14/21 17:13:04                      Pg 1 of 6
Fill in this information to identify the case:

 Debtor 1              Sandra Kay Underwood

 Debtor 2
(Spouse, if filing)

United States Bankruptcy Court for the:        Southern         District of   IN
                                                                              (State)
Case number 20-70658-AKM-13


  Official Form 410S1
  Notice of Mortgage Payment Change                                                                                                                              12/15
  If the debtor’s plan provides for payment of postpetition contractual installments on your claim secured by a security interest in the debtor’s
  principal residence, you must use this form to give notice of any changes in the installment payment amount. File this form as a supplement
  to your proof of claim at least 21 days before the new payment amount is due. See Bankruptcy Rule 3002.1

  Name of
  creditor:               Freedom Mortgage Corporation                                                     Court Claim no. (if known)       7

                                                                                        Date of payment change:
  Last 4 digits of any number you use
                                                                                        Must be at least 21 days after date
  to identify the debtor’s account:                          0108                                                                               August 1, 2021
                                                                                        of this notice


                                                                                        New total payment:
                                                                                                                                                $866.45
                                                                                        Principal, interest, and escrow, if any



    Part 1       Escrow Account Payment Adjustment

  1. Will there be a change in the debtor’s escrow account payment?
            No
        x   Yes.      Attach a copy of the escrow account statement prepared I a form consistent with applicable nonbankruptcy law. Describe
                      the basis for the change. If a statement is not attached, explain why:



                      Current escrow payment:       $215.11*                   New escrow payment:                $286.35


    Part 2       Mortgage Payment Adjustment

  2. Will the debtor’s principal and interest payment change based on an adjustment to the interest rate on the debtor’s
  variable-rate account?
        x   No
            Yes.      Attach a copy of the rate change notice prepared in a form consistent with applicable non bankruptcy law. If a notice is not
                      Attached, explain why:



                      Current interest rate:                            %      New interest rate:                                  %

                      Current principal and interest payment: $                              New principal and interest payment:        $

    Part 3       Other payment change

  3. Will there be a change in the debtor’s mortgage payment for a reason not listed above?

        x   No
            Yes. Attach a copy of any documents describing the basis for the change, such as a repayment plan or loan modification agreement.
                 (Court approval may be required before the payment change can take effect.)
            Reason for change:

            Current mortgage payment: $                                                     New mortgage payment: $


                                                                                                                                                           page 1
  Official Form 410S1                                     Notice of Mortgage Payment Change                                                                   246
            Case 20-70658-AKM-13                           Doc          Filed 06/14/21       EOD 06/14/21 17:13:04                    Pg 2 of 6
 Debtor1         Sandra Kay Underwood                                                      Case number (if known)            20-70658-AKM-13
                 First Name             Middle Name            Last Name


  Part 4:      Sign Here


 The person completing this Notice must sign it. Sign and print your name and title, if any, and state your address and telephone
 number.

 Check the appropriate box

           I am the creditor


    x      I am the creditor’s authorized agent.



 I declare under penalty of perjury that the information provided in this claim is true and correct to the best of my
 knowledge, information and reasonable belief.




                     X         /s/ S. Brent Potter                                                  Date      6/14/2021
                               Signature



 Print:                        S. Brent Potter                                                      Title     Attorney for Creditor
                               First Name            Middle Name    Last Name



 Company                       Doyle & Foutty, P.C.




 Address                       41 E. Washington St., Suite 400
                               Number      Street


                               Indianapolis                        IN            46204
                               City                                 State       ZIP Code




 Contact Phone         317-264-5000                                                        Email   bankruptcy@doylefoutty.com




*To the extent any prior changes in the payments under the terms of the loan
documents and/or escrow adjustments were not noticed in this Court pursuant to
Bankruptcy Rule 3002.1 after December 1, 2011 or the Petition Date (whichever is
later), Freedom notes that that amount will not go into effect. The current payment
listed on the attached escrow analysis did not go into effect and the current escrow
component corresponds with the last timely filed escrow analysis.


                                                                                                                                                  74
          Case 20-70658-AKM-13           Doc Filed 06/14/21 EOD 06/14/21 17:13:04                 Pg 3 of 6
                                          CERTIFICATE OF SERVICE


         This is to certify that a copy of the foregoing has been served upon the following electronically or by first
class, United States mail, postage prepaid or electronic mail, on the date of filing in the United States Bankruptcy
Court:

Sandra Kay Underwood, 4721 Old Plank Road North, New Harmony, IN 47631
James Raymond Wiesneth, Jr., James R. Wiesneth Jr., 2901 Ohio Boulevard, Suite 220, P.O. Box 3148, Terre
Haute, IN 47803, jrw@wiesnethlaw.com
Robert P. Musgrave, P. O. Box 972, Evansville, IN 47706-0972, ecf@chap13evv.com
U.S. Trustee, Office of the U.S. Trustee, 101 W. Ohio St. Ste. 1000, Indianapolis, IN 46204,
ustpregion10.in.ecf@usdoj.gov

                                                       By /s/ S. Brent Potter
                                                          Attorneys for Freedom Mortgage Corporation
                                                          Doyle & Foutty, P.C.
                                                          41 E Washington Street, Suite 400
                                                          Indianapolis, IN 46204
                                                          Phone: (317) 264-5000
                                                          Fax: (317) 264-5400
                                                          Email: bankruptcy@doylefoutty.com

S. Brent Potter (10900-49)
Tina M. Caylor (30994-49)
David M. Johnson (30354-45)
Alan W. McEwan (24051-49)
Matthew L. Foutty (20886-49)
Maura E. Binder (34314-22)
Craig D. Doyle (4783-49)
Jessica S. Owens (26533-49)
DOYLE & FOUTTY, P.C.
41 E Washington St., Suite 400
Indianapolis, IN 46204
Phone: 317-264-5000
Fax: 317-264-5400
                                     REPRESENTATION OF PRINTED DOCUMENT
     Case 20-70658-AKM-13                       Doc        Filed 06/14/21          EOD 06/14/21 17:13:04 Pg 4 of 6
                                                                                  Escrow Account Disclosure Statement
                             PO BOX 50428
                             INDIANAPOLIS, IN 46250-0401
                                                                                  Account Information
                                                                                    Loan Number:
                                                                                 Property Address:                          4721 OLD PLANK RD N
                                                                                                                          NEW HARMONY IN 47631



  SANDRA UNDERWOOD                                                                        Statement Date:                            06/01/2021
  4721 OLD PLANK RD N                                                            Current Payment Amount:                                $801.84
  NEW HARMONY IN 47631-9282
                                                                                      New Payment Amount:                              $866.45
                                                                                 New Payment Effective Date:                        08/01/2021



You are receiving this statement because you have an escrow account with us. We have safeguards in place to ensure there is
enough money in your account to cover your homeowners insurance, real estate taxes and mortgage insurance, if applicable.
However, changes in your taxes and insurance could result in a shortage or surplus in your escrow account.
Based on our most recent analysis, you have a shortage of $447.06 in your escrow account. This shortage likely was caused by
changes in your taxes and/or insurance. A shortage may also result if full monthly escrow payments have not been made to your
account. To see these changes, refer to Part 2. We will automatically spread the shortage amount over 12 months of future
monthly escrow payments.

                 Projected Minimum Balance                                                     $851.42
                 - Required Minimum Balance                                                    $342.46

                 Shortage Amount                                                               $447.06

The required minimum balance is also known as the escrow cushion. The required minimum balance or escrow cushion is the amount
that you are required to pay into your escrow account to cover unanticipated disbursements for escrow items or for disbursements that
have to be made before the monthly escrow payments are available in your escrow account.
Part 1 provides your current and the new escrow payment amounts. Part 2 shows what has already happened in your account while
Part 3 shows what we anticipate happening in your account over the next 12 months. As escrow items are subject to change each year,
the amounts in Part 3 are only estimates.



PART


       1                                                         Your Mortgage Payment
                                      Payment information beginning with your 08/01/2021 payment

                                                           Payment Information            Current Monthly Payment           New Monthly Payment
                                                                Principal & Interest:                      $580.10                          $580.10
The escrow shortage amount will
                                                                  Escrow Payment:                          $215.11                          $249.10
automatically be spread over 12 months.
Your new monthly payment will be                                  Shortage Spread:                            $6.63                          $37.25
$866.45.                                                           Total Payment:                          $801.84                          $866.45




   NOTICE: Freedom Mortgage Corporation is a debt collector attempting to collect a debt. Any information obtained will be used for that purpose.
   However, in the event the debt has been discharged pursuant to or the addressee or recipient is under the protection of federal bankruptcy law,
   this communication is solely for informational purposes and is not an attempt to collect a debt.




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                Case 20-70658-AKM-13                            Doc   Filed 06/14/21               EOD 06/14/21 17:13:04                       Pg 5 of 6
       PART


                  2                                                   Your Escrow Account History

                              The chart below compares what we projected to occur with actual activity in your escrow account since the
                              last analysis.

                Previous Year's Projections (Estimated)                                                             Actual Activity
    Date            Paid In      Paid Out   Description                      Balance     Date        Paid In    Paid Out         Description                  Balanc e
                                            Beginning Balance                $956.02                                             Beginning Balance         ($4,120.23)
  Jul 2020         $215.11          $0.00                                  $1,171.13   Jul 2020       $0.00       $79.61 *       FHA MORTGAGE INSURANCE    ($4,199.84)
  Aug 2020         $215.11        $79.61    FHA MORTGAGE INSURANCE         $1,306.63   Aug 2020       $0.00       $79.61         FHA MORTGAGE INSURANCE    ($4,279.45)
  Sep 2020         $215.11        $79.61    FHA MORTGAGE INSURANCE         $1,442.13   Sep 2020       $0.00       $79.61         FHA MORTGAGE INSURANCE    ($4,359.06)
  Oct 2020         $215.11        $79.61    FHA MORTGAGE INSURANCE         $1,577.63   Oc t 2020    $645.33       $79.61 *                                 ($3,793.34)
  Oct 2020            $0.00         $0.00                                  $1,577.63   Oc t 2020      $0.00      $263.52         COUNTY TAX                ($4,056.86)
  Nov 2020         $215.11      $1,099.00   FORCED PLACE HO                  $693.74   Nov 2020      $99.00    $1,538.00 *                                 ($5,495.86)
  Nov 2020            $0.00       $79.61    FHA MORTGAGE INSURANCE           $614.13   Nov 2020       $0.00       $79.61         FHA MORTGAGE INSURANCE    ($5,575.47)
  Nov 2020            $0.00      $263.52    COUNTY TAX                       $350.61   Nov 2020       $0.00        $0.00                                   ($5,575.47)
  Dec 2020         $215.11        $79.61    FHA MORTGAGE INSURANCE           $486.11   Dec 2020     $251.89       $79.61                                   ($5,403.19)
  Jan 2021         $215.11        $79.61    FHA MORTGAGE INSURANCE           $621.61   J an 2021      $0.00       $79.61         FHA MORTGAGE INSURANCE    ($5,482.80)
  Feb 2021         $215.11        $79.61    FHA MORTGAGE INSURANCE           $757.11   Feb 2021     $503.78       $77.87 *                                 ($5,056.89)
  Mar 2021         $215.11        $79.61    FHA MORTGAGE INSURANCE           $892.61   Mar 2021       $0.00       $77.87 *       FHA MORTGAGE INSURANCE    ($5,134.76)
  Apr 2021         $215.11        $79.61    FHA MORTGAGE INSURANCE         $1,028.11   Apr 2021     $490.91       $77.87 *                                 ($4,721.72)
  Apr 2021            $0.00         $0.00                                  $1,028.11   Apr 2021       $0.00      $258.38         COUNTY TAX                ($4,980.10)
  May 2021         $215.11        $79.61    FHA MORTGAGE INSURANCE         $1,163.61   May 2021      $12.87       $77.87 *                                 ($5,045.10)
  May 2021            $0.00      $263.52    COUNTY TAX                       $900.09   May 2021       $0.00        $0.00                                   ($5,045.10)
  Jun 2021         $215.11        $79.61    FHA MORTGAGE INSURANCE         $1,035.59   J un 2021      $0.00        $0.00     E                             ($5,045.10)
   Total          $2,581.32     $2,501.75                                               Total      $2,003.78   $2,928.65



             An asterisk (*) indicates a difference in that month between the actual activity and the estimated activity.
             When applicable, the letter “E” beside an amount indicates that a payment or disbursement has not yet occurred but is estimated
             to occur as shown.
             A double asterisk (**) indicates a difference in that month between the actual activity and the estimated activity due to interest
             payable on Escrow which is not estimated.




     LOAN NUMBER:




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                                             ELECTRONIC-ONLY DOCUMENT
        Case 20-70658-AKM-13                   Doc           Filed 06/14/21       EOD 06/14/21 17:13:04 Pg 6 of 6
                                                                                 Escrow Account Disclosure Statement
                            PO BOX 50428
                            INDIANAPOLIS, IN 46250-0401
                                                                                 Account Information                           Page 2
                                                                                   Loan Number:
                                                                                Property Address:                         4721 OLD PLANK RD N
                                                                                                                    NEW HARMONY IN 47631



      SANDRA UNDERWOOD                                                                    Statement Date:                        06/01/2021
      4721 OLD PLANK RD N                                                        Current Payment Amount:                            $801.84
      NEW HARMONY IN 47631-9282
                                                                                      New Payment Amount:                          $866.45
                                                                                 New Payment Effective Date:                    08/01/2021


    PART


           3                         Expected Escrow Payments over the next 12 Months

           HOMEOWNERS                                                  $1,538.00 Freedom expects to pay $2,989.20 over the next 12 months.
           FHA MORTGAGE INSURANCE                                       $934.44
           COUNTY TAX                                                   $516.76 Here's how to calculate your new monthly escrow payment:
           Total Disbursements                                         $2,989.20
                                                                                Total Disbursements:                  $2,989.20
                                                                                ÷ 12 Months:                                 12
                                                                                New Monthly Escrow Payment                 $249.10
                               Summary of Your Projected Escrow Account for the Coming Year
                                                          What We
                                 Payment                                                                    Your Actual       Balance Needed
                                                          Expect to             Description
               Date             to Escrow                                                                      Balance        In Your Account
                                                           Pay Out
                                                                      Beginning Balance                      $1,006.86               $1,453.92
            Aug 2021              $249.10                    $77.87   FHA MORTGAGE INSURANCE                 $1,178.09               $1,625.15
            Sep 2021              $249.10                    $77.87   FHA MORTGAGE INSURANCE                 $1,349.32               $1,796.38
            Oct 2021              $249.10                 $1,538.00   HOMEOWNERS                                $60.42                $507.48
            Oct 2021                $0.00                    $77.87   FHA MORTGAGE INSURANCE                  ($17.45)                $429.61
            Nov 2021              $249.10                    $77.87   FHA MORTGAGE INSURANCE                   $153.78                $600.84
            Nov 2021                $0.00                   $258.38   COUNTY TAX                             ($104.60)                $342.46 *
            Dec 2021              $249.10                    $77.87   FHA MORTGAGE INSURANCE                    $66.63                $513.69
            Jan 2022              $249.10                    $77.87   FHA MORTGAGE INSURANCE                   $237.86                $684.92
            Feb 2022              $249.10                    $77.87   FHA MORTGAGE INSURANCE                   $409.09                $856.15
            Mar 2022              $249.10                    $77.87   FHA MORTGAGE INSURANCE                   $580.32               $1,027.38
            Apr 2022              $249.10                    $77.87   FHA MORTGAGE INSURANCE                   $751.55               $1,198.61
            May 2022              $249.10                    $77.87   FHA MORTGAGE INSURANCE                   $922.78               $1,369.84
            May 2022                $0.00                   $258.38   COUNTY TAX                               $664.40               $1,111.46
            Jun 2022              $249.10                    $77.87   FHA MORTGAGE INSURANCE                   $835.63               $1,282.69
            Jul 2022              $249.10                    $77.87   FHA MORTGAGE INSURANCE                 $1,006.86               $1,453.92
                                $2,989.20                 $2,989.20
        The required minimum balance, as indicated by the asterisk (*) in the summary above, is determined by the Real Estate
        Settlement Procedures Act (RESPA), your mortgage contract or state law. Your minimum balance may include up to two
        months of escrow payments (excluding PMI/MIP) to cover increases to your taxes and homeowners insurance.




    PART


           4                                                    What This Means to You

                 Your escrow balance is less than the required minimum balance or cushion in your account. The resulting
                 shortage is $447.06.
                 The Escrow shortage has been spread over 12 months. Including the shortage, your new total monthly payment
                 will be $866.45.
                 Did you know by having recurring payments set up through FreedomMortgage.com, we'll adjust for any changes
                 in your monthly payment automatically? However, if you have automatic bill pay through your bank, you'll need
                 to contact them directly to adjust your payment.
    PART


           5                                   How You Can Reach Us with Questions

                 Should you have any questions regarding the information provided in this statement please do not hesitate to
                 contact us at (855) 690-5900. Customer Care representatives are available to assist you Monday through Friday
                 from 8:00am – 10:00pm and Saturday from 9:00am – 6:00pm Eastern Time.




LOAN NUMBER:

                                             ELECTRONIC-ONLY DOCUMENT
